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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JAMES FICKEN, trustee,
SUNCOAST FIRST TRUST; and
SUNCOAST FIRST TRUST,

       Plaintiffs,
                                                     Case No.: 8:19-cv-01210
vs.                                                  State Ct. Case No.:19-003181-CI

CITY OF DUNEDIN, FLORIDA;
DUNEDIN CODE ENFORCEMENT BOARD;
MICHAEL BOWMAN, in his official capacity as Code
Enforcement Board Chairman; LOWELL SUPLICKI,
in his official capacity as Code Enforcement Board
Vice-Chair; ARLENE GRAHAM, in her official
capacity as a member of the Code Enforcement Board;
KEN CARSON, in his official capacity as a member
of the Code Enforcement Board; WILLIAM
MOTLEY, in his official capacity as a member
of the Code Enforcement Board; DAVE PAULEY,
in his official capacity as a member of the Code
Enforcement Board; and BUNNY DUTTON, in
her official capacity as a member of the Code
Enforcement Board,

      Defendants.
_______________________________________/

                       DEFENDANTS’ RESPONSE TO PLAINTIFFS’
                              MOTIONS TO COMPEL
                     AND INCORPORATED MEMORANDUM OF LAW

       Defendants, CITY OF DUNEDIN, FLORIDA, DUNEDIN CODE ENFORCEMENT

BOARD, MICHAEL BOWMAN, LOWELL SUPLICKI, ARLENE GRAHAM, KEN CARSON,

WILLIAM MOTLEY, DAVE PAULEY, and BUNNY DUTTON (collectively, the “City”), 1



1
 Defendants contend that the individual defendants named in their official capacities are not
appropriate parties to this matter but acknowledge that the issue remains pending before the Court.
(Dkt. 24 at fn1).


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respond to Plaintiffs’ Motion to Compel Production of Documents and Interrogatory Responses

(Dkt. 36) and Plaintiffs’ Second Motion to Compel Production of Documents (Dkt. 40). The City

respectfully requests the Motions be denied and, as grounds therefore, states:

                                    MEMORANDUM OF LAW

    I.      INTRODUCTION

         In the instant motions, 2 Plaintiff 3 continues to advance the misleading narrative that he was

fined $30,000 by the City’s code enforcement board, and continues to obfuscate the pleadings in

order to expand the scope of discovery. The efforts should be rejected, and the motions denied.

         As noted by Plaintiffs, Fed. R. Civ. P. 26 (b) (1) allows discovery “regarding any

nonprivileged matter that is relevant to any party’s claim or defense . . .” (emphasis supplied).

“Relevancy” under Rule 26 (b) (1) is “construed broadly to encompass any matter that bears on,

or that reasonably could lead to other matter that could bear on, any issue that is or may be in the

case.” Oppenheimer Fund, Inc. v. Sanders, 98 S.Ct. 2380, 2389 (1978). Still, “discovery, like all

matters of procedure, has ultimate and necessary boundaries.” Id. at 2389, 2390. Discovery of

matters not “reasonably calculated to lead to the discovery of admissible evidence” is not within

the scope of Rule 26 (b) (1).

         Critically, the pleadings frame the issues in the case. See e.g. Pierson v. Orlando Reg’l

Healthcare Sys., Inc., 2010 WL 11508728, at *3 (M.D. Fla. May 5, 2010). A court should examine

the issues as framed by the pleadings when deciphering whether requested information is




2
 Though the City herein responds to Plaintiffs’ two motions to compel, the second defers to the
first as to the briefing. (Dkt. 40 at 3). Hence, the City refers to them as the singular “motion.”

3
 Plaintiffs are the trust which owns the property at issue and the trustee of that trust, Jim Ficken.
As the distinction is not material for purposes of the motion at hand, they are referred to as the
singular “Plaintiff.”
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reasonably calculated to lead to the discovery of admissible evidence. See Freytes-Torres v. City

of Sanford, Florida, 2008 WL 11336656, at *1 (M.D. Fla. May 27, 2008) (citing UnitedHealth

Group, Inc. v. Dowdy, 2007 WL 3202473 (M.D. Fla. October 29, 2007). Therefore, Plaintiff is

entitled to discovery that is reasonably calculated to lead to the discovery of admissible evidence

based on the remaining claims and defenses framed by the pleadings.

       In the instant case, Plaintiff obfuscates his claims in order to expand the scope of discovery,

then argues to this Court that the City confuses the merits of the case with the scope of discovery

(Dkt. 36 at fn4), a practice which should not be countenanced. In the Amended Complaint, and

based on code enforcement proceedings brought against Plaintiff in 2015 and 2018 for the

allegedly “picayune” matter of uncut grass, “Plaintiffs seek declaratory and injunctive relief”

against (1) “the City’s decision to impose a daily fine of $500 and an aggregate fine of over

$29,000 against Plaintiffs . . . (2) the City’s decision to foreclose on Plaintiffs’ home as a penalty

for temporarily having tall grass . . . (3) the City’s code, insofar as it empowers the City to assess

limitless fines, in violation of the Excessive Fines Clauses of the Eighth Amendment to the U.S.

Constitution and Article I, section 17 of the Florida Constitution. . . ;” (emphasis supplied) and

“the City’s unconstitutional practice of commencing fines against so-called ‘repeat violators’”

without providing due process. (Dkt. 22 at 1, ¶¶ 2-5). The two “decisions” identified are

specifically governed by Chapter 162, Fla. Stat., and the parallel provisions of Chapter 22, DCO.

       In furtherance of the relief sought, Plaintiff alleges in Count One that the fines and the

penalty of foreclosure are unconstitutional under the Eighth Amendment both facially and as

applied. (Dkt. 22 at ¶¶ 106, 108, 110). In Count Two, Plaintiffs make similar contentions under

the authority of the Florida Constitution. (Dkt. 22 at ¶¶ 121, 123, 125). Count Three purports to

allege a violation of Plaintiffs’ procedural due process rights under the Fourteenth Amendment



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because Plaintiff “lost his right to access the City’s traditional code enforcement process without

the appropriate notice and opportunity to be heard required by federal law” (emphasis supplied).

(Dkt. 22 at ¶ 135). Plaintiffs assert a similar claim under the Florida Constitution. (Dkt. 22 at ¶

147). Of course, the fine and foreclosure are part of the code enforcement processes governed by

Chapter 162, Fla. Stat., and Chapter 22, DCO.

       Nevertheless, Plaintiffs’ counsel has affirmatively represented to the City’s counsel the

Amended Complaint does not assert a challenge to Chapter 162, Fla. Stat., or Chapter 22, DCO.

“We are indeed arguing that the City’s system of boundless fines is unconstitutional on its face

and of course as-applied here. It is also correct that we have not challenged the constitutionality

of Chapter 162 or Ch 22.” (Dkt. 36-1 at 41). Of course, a facial challenge seeks to invalidate a

statute or regulation itself. Indigo Room, Inc. v. City of Fort Myers, 710 F.3d 1294, 1302 (11th

Cir. 2013). In other words, there must be a “face” to challenge. So, Plaintiff has filed a pleading

ostensibly mounting a facial challenge to Chapter 162, Fla. Stat., and Chapter 22, Fla. Stat., but

has affirmatively disavowed such challenge.

        Simultaneously, Plaintiff’s counsel acknowledges that the “we are not challenging the

possibility of fines for long grass, we are challenging instances of them . . .” (Dkt. 36-1 at 30)

(emphasis in original). “[F]or a facial challenge to succeed . . . the challenger must establish that

no set of circumstances exists under which the [statute or regulation] would be valid.” Id. So,

Plaintiff both asserts and disavows a facial challenge.

       At issue in the Motion is not whether the City ultimately will prevail, but the identification

of the issues framed by the pleadings so the Court may decipher whether the discovery sought is

reasonably calculated to lead to the discovery of admissible evidence. Plaintiff’s attempt to divorce




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the code enforcement matter at issue from the statutory authority which governs it, and to thereby

expand the scope of discovery beyond Rule 26, must be rejected.

    II.      ARGUMENT 4

          A. RFP 5 and Interrogatory 6—Harms of Long Grass

          Plaintiff first seeks responses to interrogatories and requests to produce regarding what

Plaintiff characterizes as “the heart of the case: how bad it is to have long grass” (Dkt. 36 at 3),

describing such information as “plainly relevant to the excessiveness claims.” (Dkt. 36 at 3-6).

          “The touchstone of the constitutional inquiry under the Excessive Fines Clause is the

principle of proportionality.” Austin v. United States, 113 S.Ct. 2801, 2812 (1993). No case

explicitly instructs how such proportionality is to be considered, but Plaintiffs correctly

acknowledge that “[t]he relevant factors” concerning the excessiveness of a fine “will necessarily

vary from case to case.” (Dkt. 36 at 4 (citing United States v. One Parcel Prop. Located at 427 &

429 Hall St., 74 F.3d 1165, 1172 (11th Cir. 1996)).

          In this case, and despite Plaintiff’s retreat from them, proportionality should and must be

considered under the rubric of Chapter 162, Fla. Stat., and Chapter 22, DCO. None of the cases

cited by Plaintiff in the Motion address daily accruing fines and, as importantly, none address a

statutory construction similar to that found in Chapter 162, Fla. Stat., and Chapter 22, DCO,

authorizing the imposition of limited daily accruing fines which constitute an enforceable lien

subject to foreclosure. Despite Plaintiffs’ attempt to divorce the matter from Chapter 162, Fla.

Stat., and Chapter 22, DCO, they are critical in deciphering whether the requested information is

reasonably calculated to lead to the discovery of admissible evidence.



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  For ease of reference, the argument section herein is organized to match the subheadings of
“Section III – Argument” of Plaintiff’s Motion. The text of the specific discovery requests is not
repeated.
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       Chapter 162, Fla. Stat., explicated upon at length in the City’s Motion to Dismiss the

Amended Complaint (Dkt. 24 at 5-8), expresses a legislative intent to:

               . . . promote, protect, and improve the health, safety, and welfare
               of the citizens of the counties and municipalities of this state by
               authorizing the creation of administrative boards with authority to
               impose administrative fines and other noncriminal penalties to
               provide an equitable, expeditious, effective, and inexpensive
               method of enforcing any codes and ordinances in force in counties
               and municipalities, where a pending or repeated violation continues
               to exist.

               § 162.02, Fla. Stat. See also § 22-1, DCO (emphases supplied).

       As noted in the City’s Motion to Dismiss, both chapters then go on to set forth the limited

range of daily accruing fines that may be imposed for original or repeat violations of any municipal

ordinances. In other words, both the Florida Legislature and the City’s Board of Commissioners

have determined legislatively the proportionality of fines assessed for violation of any municipal

ordinance, including those governing the maintenance of yards. Those bodies have determined that

compliance with municipal codes furthers the public health, safety, and welfare. Further, they have

determined that such daily accruing fines are “proportional” to the harm caused by the very

violation of municipal ordinances, without reference to the municipal ordinance violated, and that

proportionality has been affirmed by courts reviewing it. (Dkt. 24 at 11-15). Stated simply,

proportionality is built into Chapter 162, Fla. Stat. and Chapter 22, DCO. So, within the specific

context of this case, Plaintiff’s discovery requests concerning the “harm” of long grass can be

relevant only to the legislative judgment of the City’s ordinances regulating the height of grass,

which is not at issue in the lawsuit. Accordingly, the discovery requests are not reasonably

calculated to lead to the discovery of admissible evidence.




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       B. RFP 3—The City’s own view of its code enforcement system

       In their Request for Production number 3, Plaintiff seeks “internal audits or similar

reviews” concerning code enforcement which they contend are relevant to the City’s own views

of how the City’s code enforcement system operates. (Dkt. 36 at 6-8). The contention is especially

curious and the request particularly irrelevant given that Plaintiff admittedly is not challenging the

facial constitutionality of the City’s code enforcement system which, as noted, operates under

Chapter 162, Fla. Stat., and Chapter 22, DCO. (Dkt. 36-1 at 41).

       Plaintiff argues that Fed. R. Civ. P. 33 (a) (2), governing interrogatories, first justifies the

request because, under the rule, interrogatories may seek “an opinion or contention that relates to

fact or the application of law to fact.” Plaintiff omits critical language. Stated more completely,

the rule says that such an interrogatory is “not objectionable merely because” it seeks an opinion

or contention, but that the court may order that such an inquiry “need not be answered until

designated discovery is complete . . .” Of course, like Rule 36 governing Requests for Admission,

the rule defers to the general provisions of Rule 26, including relevance. So, what Plaintiff

miscasts as a blanket statement of relevancy is, in fact, still subject to the same standards of

relevance discussed above.

       To justify the relevance, Plaintiff asserted to the City that the documents sought “could

conclude that ‘the City imposes harsh fines for minor violations, the City fails to provide sufficient

notice to repeat offenders, or the like.’” (Dkt. 36-1 at 29). Assuming that responsive documents

said as much, they are no more relevant than if they concluded that “the City imposes perfectly

proportional fines for minor violations, the City provides ample notice to repeat offenders” or the

like. No matter which way they cut, the statements have no bearing whatsoever on whether the

City’s code enforcement system is constitutional on its face or as applied to Plaintiff—that



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determination rests solely with the Court and neither the City’s own opinion nor that of a consultant

is relevant to the inquiry.

        C. Interrogatory 4—The City could have just mowed the lawn

        In Interrogatory Number 4, Plaintiff inquires as to “whether the City could have just mowed

the lawn and billed [Plaintiff] rather than fining him $30,000.” (Dkt. 36 at 8). Setting aside that

the affirmative allegations of the Amended Complaint show that he was not fined $30,000, the

relevance of this request must also be considered within the framework of Chapters 162 and 22.

        Section 162.13, Fla. Stat., states as follows:

                PROVISIONS OF ACT SUPPLEMENTAL. – It is the legislative
                intent of ss. 162.01-162.12 to provide an additional or supplemental
                means of obtaining compliance with local codes. Nothing contained
                in ss. 162.01-162.12 shall prohibit a local governing body from
                enforcing its codes by any other means (emphasis supplied).

                See also §22-3 (a), DCO.

As noted previously, the factors governing the proportionality of a fine vary on a case-by-case

basis and the proportionality of code enforcement fines are built into Chapter 162, Fla. Stat., and

Chapter 22, DCO. Thus, discovery regarding whether the City has mowed other people’s lawns

and charged them for same, or whether it could have done so as to Plaintiffs’ property, may be

relevant in the context of an equal protection claim, but has no relevance to the proportionality

analysis under the facts alleged.

        Significantly, Plaintiff neglects to inform the Court that, in the case of Wright v. Riveland,

219 F.3d 905 (9th Cir. 2000), cited in the Motion on page 13, the circuit court determined a portion

of the fines at issue constitutional as a matter of law because, like the fines in this case, they were

imposed pursuant to a statutory hierarchy limiting the amount and thereby ensuring

proportionality. The fines imposed outside the timeframe of that hierarchy’s existence survived



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the motion to dismiss. Id. More broadly, Plaintiff relies throughout the Motion on cases concerning

forfeiture, restitution, and other criminal fines, which are distinct concepts having little utility in

the noncriminal matters at hand. The City notes this not because it believes it “should win” (Dkt.

36 at fn4), but to assist the Court in deciphering what of the requested information is reasonably

calculated to lead to the discovery of admissible evidence.

       In this case, the existence and utilization of alternative means of code enforcement and

remediation are not part of the proportionality analysis since there is no allegation the City used

those alternative means and the analysis must be governed instead by the statutory construct. The

request is another attempt to separate the case from the regulatory frameworks which govern it,

Chapter 162, Fla. Stat., and Chapter 22, DCO, and the City respectfully requests the Motion be

denied on this point.

       D. Interrogatories 8 and 9—What happened that summer

       Interrogatories 8 and 9, according Plaintiff, seek information concerning “the most basic

details of what happened the summer [the City] fined Jim.” (Dkt. 36 at 13). The Amended

Complaint alleges that “the summer [the City] fined” him was the summer of 2018 (Dkt. 22 at ¶

74), yet the interrogatory seeks information concerning statements allegedly made by (1) a City

spokesperson in June 2019; and (2) the City Manager to a newspaper reporter in May 2019.

Plaintiff’s inquiries do not concern the most basic details of what occurred in 2018, but rather the

basis of statements made much later.

       Whether the City’s spokesman holds the opinion that Plaintiff is “a chronic scofflaw who

ignores code-enforcement notifications” does not concern “the most basic details” of what

happened in the summer of 2018 and therefore has no relevance whatsoever to this case. It is not

reasonably calculated to lead to the discovery of admissible evidence concerning the



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 constitutionality of the code enforcement proceeding at issue under the Eighth or Fourteenth

 Amendments.

            Likewise, the City Manager’s alleged statements to a newspaper reporter almost one year

 after the summer of 2018 are equally irrelevant. The interrogatory does not seek to discover events

 occurring in summer 2018—instead, it seeks to discover what the alleged speaker relied upon

 when making the statement in May 2019, which is not relevant to the claims or defenses in the

 lawsuit. Further, the interrogatory presumes that the statement was made in the first instance, but

 the statement was published by a newspaper which received it from reporter, who received it from

 the City Manager who apparently obtained it from a code enforcement officer or other staff

 member. The events of the code enforcement proceeding leading to the fine at issue are relevant,

 but those events do not form the basis of the interrogatories at issue. Finally, the City notes that

 Plaintiff has obtained substantial documentation regarding the summer of 2018, deposed the City’s

 corporate representative and the code enforcement officer who issued the violation in the summer

 of 2018, and inquired of both at length concerning the details of the summer of 2018, at this

 juncture rendering the interrogatory duplicative.

            E. Other fines

            In Interrogatory 1 and Request for Production 4, Plaintiff seeks discovery concerning fines

 imposed by the City’s Code Enforcement Board since January 1, 2015 greater than $5,000 and

 documents in that same period evidencing all code violations for overgrown grass. Plaintiffs allege

 these matters are relevant “to the questions of both proportionality and notice.” (Dkt. 36-1). They

 are not.

            Again, proportionality in this specific case is built into the statutory framework governing

 the conduct of code enforcement in Florida and the City, and that statutory framework must inform



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 the analysis of whether the requested information is reasonably calculated to lead to

 the discovery of admissible evidence. Plaintiff’s hypothetical does not help him. That the evidence

 may reveal very few fines for tall grass in excess of $5,000 or, conversely, that it may reveal many

 fines for tall grass, is not relevant to the proportionality analysis because the proportionality

 analysis must focus on the range of permissible fines for repeat violations set forth in Chapter 162,

 Fla. Stat., and Chapter 22, DCO, which fines may be assessed for repeat violation of any municipal

 ordinance—proportionality is built into the code enforcement process. There is no case suggesting

 that proportionality is or should be measured by how much other code violators were fined and, in

 the specific context of this case, such evidence is not reasonably calculated to lead to the discovery

 of admissible evidence.

        Other fines that have accrued to greater than $5,000 since 2015 are equally irrelevant.

 Assuming the request yields evidence the City has a practice of delaying notification as argued by

 Plaintiff, the issue framed by the pleadings as to the facial challenge is whether § 162.06 (3), Fla.

 Stat.’s omission of a time limitation for a code enforcement officer to notify the enforcement board

 of a repeat violation is constitutional. The City’s practice is not relevant. Likewise, the as-applied

 challenge focuses on the fine at issue and the process leading to it—discovery concerning the fine

 issued to Plaintiff is relevant, but discovery on fines issued to others is not reasonably calculated

 to lead to the discovery of admissible evidence.

        F. Interrogatory 7—Profit incentive

        Interrogatory 7 is not reasonably calculated to lead to the discovery of admissible evidence

 for the same reasons the previous requests are not. Plaintiff contends that the City’s “profit

 incentive” bears on the excessiveness analysis and, in support, directs the Court to Timbs v.

 Indiana, 139 S.Ct. 682 (2019).



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        Factually, the Timbs case concerned the forfeiture of a vehicle seized in the alleged

 transport of heroin, where the value of the vehicle was ten times more than the maximum fine

 assessable against the petitioner for the drug conviction. The case is factually inapposite. Further,

 and as noted in the City’s Motion to Dismiss the Amended Complaint (Dkt. 24), the issue in Timbs

 was whether the Eighth Amendment’s excessive fines clause was an incorporated protection

 applicable to the states under the Fourteenth Amendment, which question the Supreme Court

 answered affirmatively. The excerpt relied upon by Plaintiff in the Motion was set forth by the

 Supreme Court as part of the historical context underpinning its holding and did not concern which

 factors are relevant in the proportionality analysis at issue.

        The factors relevant to the proportionality analysis are determined on a case by case basis.

 In this case, the City’s general “profit incentive” is not at issue. Whether Chapter 162 and Chapter

 22 are facially unconstitutional because they do not require the code officer to bring a repeat

 violation to the enforcement board within a specified time frame requires the Court only to look at

 the “face” of the laws and determine whether they can ever be applied constitutionally (Plaintiff’s

 counsel has conceded they can). The request seeking revenue received from code enforcement

 from 2010 forward is likewise irrelevant as it seeks no information concerning the way the codes

 were applied to Plaintiff in the summer of 2018.

        G. RFP 6—Code-inspector employment records

        In seeking to compel the production of the personnel files of the City’s code enforcement

 records, Plaintiff seeks information concerning whether the City’s code enforcement inspectors’

 interactions with Plaintiff were “proper.” Again, this contention must be analyzed in light of the

 pleadings to decipher if the information is reasonably calculated to lead to the discovery of

 admissible evidence. Here, it is not because (1) it is admitted in the pleadings that Plaintiff violated



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 the City’s code governing the height of grass; and (2) code enforcement inspectors do not and are

 not statutorily authorized to impose code enforcement fines under Chapter 162, Fla. Stat., or

 Chapter 22, DCO.

        Conspicuously missing from Plaintiff’s analysis of the Moss case cited in the Motion is

 this Court’s observation that:

                 federal courts recognize that personnel files contain private
                information and that they should exercise caution in permitting the
                discovery of information which may embarrass non-party
                employees. This is particularly true when the information can be
                obtained from other, less intrusive sources. Saldi v. Paul Revere Life
                Ins. Co., 224 F.R.D. 169,184 (E.D.Pa. 2004) ( “Federal courts have
                recognized a ‘heightened standard of relevance’ for discovery of
                information contained in personnel files.”); Coker, 177 F.R.D. at
                685 (Personnel files are only discoverable when the information
                sought is clearly relevant and cannot be obtained from other sources
                .); see also Fullbright, 2010 WL 300436 at *2 (While not
                categorically out of bounds, personnel files are private and caution
                must be exercised in determining whether they should be
                disclosed.).

                Moss v. GEICO Indem. Co., 5:10-CV-104-OC-10TBS, 2012 WL
                682450, at *5 (M.D. Fla. Mar. 2, 2012).

        Plaintiff also fails to inform this Court that the case collecting other cases permitting

 discovery of personnel records in fact “collected” cases predicated upon bad faith insurance

 claims, or that such discovery was permitted “excluding sensitive, personal information that is not

 related to claims handling.” Whitney v. Esurance Insurance Company, 2013 WL 12092069 (S.D.

 Fla. 2013).

        The instant discovery request must be analyzed in the context of this case, which is not a

 bad faith insurance claim. Whether the City’s code enforcement officers were “properly” enforcing

 the City’s codes is not an issue framed by the pleadings—Plaintiff affirmatively acknowledges the

 existence of the violation but alleges first that he was out of town attending to other affairs, during



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 which time his maintenance man passed away, and then that his mower malfunctioned. Thus, the

 “legitimacy” of the violation is not at issue. The personnel files do not bear on the facial

 constitutionality of Chapter 162, Fla. Stat., or Chapter 22, DCO. Whether the code enforcement

 officer applied the code as to Plaintiff with a “profit incentive” is equally irrelevant as described

 in §§ II F herein, particular considering that Plaintiff does not dispute his failure to comply with

 the City’s code. Finally, Plaintiff has deposed the code enforcement inspectors who prompted the

 2015 and 2018 violations and has had opportunity to question each regarding the propriety of their

 enforcement efforts—the information sought has already been received from another source.

        H. Consultant’s reports – (Dkt. 40)

        In the second motion filed March 6, 2020 (Dkt. 40), Plaintiff seeks to compel documents

 like those sought in RFP 3. The City refers and incorporates § II (B) of this document in response

 to same.

        WHEREFORE, for the reasons stated herein, the City respectfully requests this Court deny

 Plaintiff’s Motion along with such other relief as the Court deems appropriate.

                                       Respectfully submitted,

                                       /s/ Jay Daigneault, Esq.
                                       Jay Daigneault, Esq. - FBN 0025859
                                       Randy Mora, Esq. - FBN 099895
                                       1001 South Fort Harrison Ave., Ste. 201
                                       Clearwater, Florida 33756
                                       (727) 733-0494 – Phone
                                       Primary: jay@cityattorneys.legal
                                       Primary: randy@cityattorneys.legal
                                       Secondary: jennifer@cityattorneys.legal
                                       Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on March 13, 2020, I electronically filed the foregoing with the
 Clerk of the Court using the CM/ECF system, which will provide electronic service of same to Ari
 S. Bargil, Esq. at abargil@ij.org, and Andrew H. Ward at andrew.ward@ij.org, attorneys for
 Plaintiffs.


                                              /s/ Jay Daigneault, Esq.
                                              Jay Daigneault, Esq.
                                              FBN 0025859
                                              Randy Mora, Esq.
                                              FBN 0099895
                                              1001 South Fort Harrison Ave., Ste. 201
                                              Clearwater, Florida 33756
                                              (727) 733-0494 – Phone
                                              (727) 733-2991 – Fax
                                              Primary: jay@cityattorneys.legal
                                              Primary: randy@cityattorneys.legal
                                              Secondary: jennifer@cityattorneys.legal
                                              Attorneys for Defendants




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